DocuSign Envelope ID: 6CE6B9F7-8105-43F1-A125-4ED532CCC1E1
             Case 1:20-cv-06372-RML Document 15-1 Filed 08/05/21 Page 1 of 4 PageID #: 52




                                  SETTLEMENT AGREEMENT AND RELEASE
                     IVY United USA Inc. (“Defendant”), and Lizbeth Estrada (“Estrada”), desire to avoid the
            costs, risks, and delays associated with litigation and therefore agree as follows:

                             1.      Definition of Parties.

                                     a.               “Plaintiff” shall be defined as Lizbeth Estrada.

                                     b.               Plaintiff Lizbeth Estrada was employed by Defendant IVY
            United USA Inc.

                                     c.               “Defendant” shall be defined as IVY United USA Inc.

                                 d.            “Action” or “Lawsuit” refers to the lawsuit filed by Plaintiff
            against Defendant on December 31, 2020, in the United States District Court, Eastern District of
            New York, with Civil Action #: 20-CV-06372 (ENV)(RML).

                           2.    Consideration. In consideration for Ms. Estrada’s signing this
            Agreement and the release of all claims herein, Defendant IVY United USA Inc agree to make
            the following payments totaling Eighteen Thousand Dollars ($18,000):

                                  a.             A check made payable to “Lizbeth Estrada” in the amount of
            Five Thousand, Seven Hundred, Forty-Four Dollars and Zero Cents ($5,744), less applicable taxes
            and withholdings, to be reported on an IRS Form W-2, due on or before October 1, 2021;

                                   b.             A check made payable to “Lizbeth Estrada” in the amount of
            Five Thousand, Seven Hundred, Forty-Four Dollars and Zero Cents ($5,744), representing
            liquidated and other damages, to be reported on an IRS Form 1099-MISC (Box 3), due on or before
            October 1, 2021;

                                 c.              A check made payable to “Abdul Hassan Law Group,
            PLLC,” in the amount of Six Thousand, Five Hundred Twelve Dollars and Zero Cents ($6,512),
            representing payment of a 1/3 contingency fee ($5,744) plus costs ($768), to be reported on an IRS
            Form 1099-MISC (Box 14), due on or before October 1, 2021;

                                d.              The payments above shall be sent to the office of Plaintiff’s
            counsel Abdul K. Hassan, Esq., located at 215-28 Hillside Avenue, Queens Village, NY 11427.

                                    e.            Defendants knowingly and voluntarily release and forever
            discharge Plaintiff of and from any and all claims, debts, obligations or liability whatsoever,
            whether known or unknown, that they have or may have against Plaintiff, as of the date of
            execution of this Agreement.

                                  f.           If there is a default in making the payments herein, Plaintiff
            or her counsel, will give Defendant IVY United USA Inc, written notice of said default, by

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DocuSign Envelope ID: 6CE6B9F7-8105-43F1-A125-4ED532CCC1E1
             Case 1:20-cv-06372-RML Document 15-1 Filed 08/05/21 Page 2 of 4 PageID #: 53




            sending a notice of default by email to Defendant’s attorneys Ms. Sylvia Tsai, Esq. at
            stsai@genglaws.com. Defendant will have fifteen (15) days from receipt of such notice to cure
            the default. If Defendant do not cure the default within fifteen (15) days of the notice, Plaintiff and
            her Counsel shall have the right to a judgment or supplemental judgment against Defendant IVY
            United USA Inc, in the amount of Twenty-Seven Thousand Dollars ($27,000) less any monies
            paid by Defendants at the time of default. The Court shall retain and have authority and jurisdiction
            to enter such judgment or supplemental judgment in favor of Plaintiff and her counsel.

                                    g.            If any settlement payment herein is due before the date of
            court approval of this settlement agreement, such payment(s) shall be held in escrow by
            Defendant’s counsel and sent within two days of court approval by overnight delivery to the
            office of Plaintiff’s counsel Abdul K. Hassan, Esq. located at 215-28 Hillside Avenue, Queens
            Village, NY 11427


                          3.     No Consideration Absent Execution of This Agreement. Plaintiff
            understands and agrees she would not receive the monies and/or benefits specified in Paragraph 2
            above, except for her execution of this Agreement and the discontinuance of the Action with
            prejudice.

                           4.       Release of Claims by Plaintiff. In return for the payments identified in
            paragraph 2, Plaintiff knowingly and voluntarily releases and forever discharges Defendant of and
            from any and all wage and hour claims and claims asserted in this action, as of the date of execution
            of this Agreement, consistent with Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2d Cir.
            2015).

                             5.      Acknowledgments and Affirmations.

                                    a.                         Plaintiff affirms that in the Action she has
           asserted a claim in seeking unpaid wage or overtime pay under the Fair Labor Standards Act, the
           New York State Labor Law, and/or any other law, regulation or basis and affirms that there is a
           bona fide dispute as to such FLSA claims which are being settled and released by this Agreement.
           Plaintiff believes that this settlement is fair and reasonable, and authorizes her attorney to seek
           from the Court approval of the settlement as fair and reasonable under the FLSA, and dismissal of
           the Action with prejudice.

                           6.      Governing Law and Interpretation. This Agreement shall be governed
            and conformed in accordance with the laws of the State of New York without regard to its conflict
            or choice of law provisions. In the event the Plaintiff or Defendant breaches any provision of this
            Agreement, Plaintiff and Defendant affirm that either may institute an action to specifically
            enforce any term or terms of this Agreement. If the release language is found to be illegal or
            unenforceable, Plaintiff and Defendant agree to execute a binding replacement release(s).

                           7.      Amendment. Except as provided in Paragraph 6 above, this Agreement
            may not be modified, altered or changed without the express written consent of both parties
            wherein specific reference is made to this Agreement.

                                                              2
DocuSign Envelope ID: 6CE6B9F7-8105-43F1-A125-4ED532CCC1E1
             Case 1:20-cv-06372-RML Document 15-1 Filed 08/05/21 Page 3 of 4 PageID #: 54




                            8.      Resolution of Disputes. The parties agree that the Court in this action shall
            retain jurisdiction to resolve any disputes arising out of this Settlement Agreement and the
            settlement of this action.

                            9.     Non-admission of Wrongdoing. The parties agree that neither this
            Agreement nor the furnishing of the consideration for this Agreement shall be deemed or construed
            at any time for any purpose as an admission by either party of any liability or unlawful conduct of
            any kind.

                            10.     Entire Agreement. This Agreement sets forth the entire agreement
            between the parties hereto, and fully supersedes any prior agreements or understandings between
            the parties. Plaintiff acknowledges she has not relied on any representations, promises, or
            agreements of any kind made to him in connection with her decision to accept this Agreement,
            except for those set forth in this Agreement, and Plaintiff’s consent to this Agreement is given
            freely, voluntarily, and with full knowledge and understanding of this Agreement’s contents.

                           11.    Section Headings. Section headings are used herein for convenience of
            reference only and shall not affect the meaning of any provision of this Agreement.

                           12.    Legal Fees. Except as provided for in this Agreement, each party will be
            responsible for its own legal fees or costs, if any, incurred in connection with the negotiation,
            settlement and delivery of this Agreement.

                            13.     Joint Participation in Preparation of Agreement.             The Parties
            participated jointly in the negotiation and preparation of this Agreement, and each party has had
            the opportunity to obtain the advice of legal counsel and to review, comment upon, and redraft this
            Agreement. Accordingly, it is agreed that no rule of construction shall apply against any party or
            in favor of any party. This Agreement shall be construed as if the Parties jointly prepared this
            Agreement, and any uncertainty or ambiguity shall not be interpreted against any one party and in
            favor of the other.

                           14.    Competency to Waive Claims. At the time of considering or executing
            this Agreement, Ms. Estrada was not affected or impaired by illness, use of alcohol, drugs or other
            substances or otherwise impaired. Ms. Estrada is competent to execute this Agreement.

                          IN WITNESS WHEREOF, the parties hereto knowingly and voluntarily executed
            this Agreement and Release as of the date set forth below:


            PLAINTIFF:                                            DEFENDANT:

            LIZBETH ESTRADA                                       IVY UNITED USA INC.


            By:________________________________                   By:_________________________________

                                                             3
DocuSign Envelope ID: 6CE6B9F7-8105-43F1-A125-4ED532CCC1E1
             Case 1:20-cv-06372-RML Document 15-1 Filed 08/05/21 Page 4 of 4 PageID #: 55



                     8/5/2021
            Date: ______________________________                 Print Name __________________________

                                                                 Title________________________________

                                                                 Date: _______________________________




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